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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
                         CAMDEN VICINAGE

                                             MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                    Honorable Robert B. Kugler,
  LIABILITY LITIGATION                       District Court Judge


  This Document Relates to All Actions


  DEFENDANTS ZHEJIANG HUAHAI PHARMACEUTICAL CO., LTD.,
 HUAHAI U.S., INC., PRINSTON PHARMACEUTICAL INC., AND SOLCO
   HEALTHCARE U.S., LLC’S MOTION FOR LEAVE TO FILE THEIR
     FIRST AMENDED ANSWER AND AFFIRMATIVE DEFENSES
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       Defendants Zhejiang Huahai Pharmaceutical Co., Ltd.; Huahai U.S., Inc.;

 Prinston Pharmaceutical Inc.; and Solco Healthcare U.S., LLC (collectively, the

 “ZHP Defendants”), by and through their undersigned counsel, request leave to file

 their First Amended Answer And Affirmative Defenses Of Defendants Zhejiang

 Huahai Pharmaceutical Co., LTD., Huahai U.S., Inc., Prinston Pharmaceutical Inc.,

 And Solco Healthcare U.S., LLC And Jury Demand (“First Amended Answer”), a

 copy of which is attached hereto. Plaintiffs have advised that they object to this

 motion.

       Pursuant to L.R. 15.1, “a party who seeks leave to amend a pleading shall do

 so by motion, which shall state whether such motion is opposed, and shall attach to

 the motion: (1) a copy of the proposed amended pleading; and (2) a form of the

 amended pleading that shall indicate in what respect(s) it differs from the pleading

 which it proposes to amend, by bracketing or striking through materials to be deleted

 and underlining materials to be added.” L.R. 15.1.

       In support of their motion to file the First Amended Answer, the ZHP

 Defendants state as follows:

 1.    In preparing their responses to Plaintiffs’ motions for summary judgment and

 accompanying statement of undisputed material facts, counsel for the ZHP

 Defendants discovered that, due to an inadvertent mistake, the responses at

 Paragraphs 77 & 78 in the ZHP Defendants’ original Answer—which was first filed
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 on December 7, 2023 (ECF No. 2549)—were factually incorrect and inconsistent

 with deposition testimony provided by ZHP witnesses in connection with the

 litigation.

 2.     Specifically, the original responses to Paragraphs 77 & 78 mistakenly stated

 that both Prinston and Solco are wholly owned subsidiaries of ZHP. In fact,

 however, Prinston is a wholly-owned subsidiary of PrinJohnson Biopharm, Inc.

 (“PrinJohnson”), of which ZHP owns approximately 93.5% through direct and

 indirect holdings, and Solco is a wholly-owned subsidiary of Prinston. The First

 Amended Answer corrects these inadvertent mistakes.

 3.     Notably, the corrected information regarding the ownership of Prinston and

 Solco included in the proposed First Amended Answer is consistent with the

 testimony of the ZHP Defendants’ corporate witnesses and therefore has long been

 part of the record in this case. (See, e.g., Dep. of Jun Du 25:24-26:3, 31:1-12, 38:2-

 42:1, May 27, 2021 (Ex. 1 to Certification of Jessica Davidson (“Davidson Cert.”))

 (Vice Chairman of ZHP Board of Directors testifying that ZHP is a part owner of

 PrinJohnson, which is a holding company that owns Prinston, and that Prinston owns

 Solco).)

 4.     The mistaken responses regarding the ownership of Prinston and Solco

 included in the original Answer, by contrast, were made very recently and long after




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 the close of discovery. As a result, neither Plaintiffs nor their counsel could have

 relied upon the statements in the original Answer to their detriment.

 5.    Counsel for the ZHP Defendants informed Plaintiffs’ counsel of the

 inadvertent error in the original Answer and provided them with the proposed First

 Amended Answer on January 22, 2024. Plaintiffs’ counsel would not agree to the

 relief sought in this motion.

 6.    As required by L.R. 15.1, the ZHP Defendants have attached both a copy of

 the First Amended Answer, and a copy containing a redline showing the specific

 changes to the original Answer, as Exhibits 2 and 3 to the Davidson Cert.,

 respectively.

       WHEREFORE, Defendants respectfully request leave to file instanter the

 First Amended Answer attached as Exhibit 2 to this motion.

 Dated: February 7, 2024                Respectfully submitted,

                                        By: /s/ Jessica Davidson
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                                         Solco Healthcare U.S., LLC




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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 7, 2024, I electronically filed the

 foregoing with the Clerk of the Court by using the CM/ECF system, which will

 send a notice of electronic filing to all CM/ECF participants in this matter.

                                        /s/ Jessica Davidson
                                        Jessica Davidson (NY Bar No. 6034748)




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